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CO 109A - Rev 3/2010

UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

 

VS. Civil/Criminal No.; _19-CR-00018 (ABJ)

ROGER STONE, JR.

 

FILED

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NOTE FROM JURY Clerk, U.S. District & Bankrupt
Oe Courts for the District of Columbra

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